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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York

ICR/SKW/EHS                                           271 Cadman Plaza East
F. #2022R00326                                        Brooklyn, New York 11201



                                                      March 2, 2023
By Email and ECF

Mia Eisner-Grynberg, Esq.
Amanda David, Esq.
Federal Defenders of New York
One Pierrepont Plaza, 16th Floor
Brooklyn, New York 11201


                Re:   United States v. Frank James
                      Criminal Docket No. 22-214 (WFK)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. The discovery is being produced
pursuant to the Protective Order entered by the Court on July 15, 2022.

I.     The Government’s Discovery

       A.       Documents and Tangible Objects

Bates Numbers                      Description
FJ_0017113 _ FJ_0017117            A Federal Bureau of Investigation (“FBI”) diagrams of the
                                   subway car.
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      B.     Expert Report

Bates Numbers                  Description
FJ_0017118 – FJ_0017132        A preliminary FBI Cellular Analysis Survey Team (“CAST”)
                               report.



             Please reach out with any questions.


                                                    Very truly yours,

                                                    BREON PEACE
                                                    United States Attorney

                                          By:                /s/
                                                    Ian C. Richardson
                                                    Sara K. Winik
                                                    Ellen H. Sise
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

Enclosures

cc:   Clerk of the Court (WFK) (by ECF) (without enclosures)




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